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                            UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF IDAHO


ADREE EDMO (a/k/a MASON EDMO),              Case No.: 1:17-cv-00151-BLW

                   Plaintiff,
                                             PLAINTIFF’S MEMORANDUM OF POINTS
       v.                                    AND AUTHORTIES IN SUPPORT OF MOTION
                                             FOR INDICATIVE RULING UNDER FEDERAL
IDAHO DEPARTMENT OF                          RULES OF CIVIL PROCEDURE 62.1 & 60(a)
CORRECTION; HENRY ATENCIO, in his            AND REQUEST FOR EXPEDITED
official capacity; JEFF ZMUDA, in his        CONSIDERATION UNDER LOCAL RULE 6.1
official capacity; HOWARD KEITH
YORDY, in his official and individual        Complaint Filed:        April 6, 2017
capacities; CORIZON, INC.; SCOTT             Discovery Cut-Off:      August 31, 2019
ELIASON; MURRAY YOUNG; RICHARD               Motion Cut-Off:         January 31, 2020
CRAIG; RONA SIEGERT; CATHERINE               Trial Date:             None Set
WHINNERY; and DOES 1-15;

                 Defendants.




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                                         INTRODUCTION

         On January 9, 2019, Defendants noticed their appeal of this Court’s December 13, 2018,

Order granting in part Plaintiff’s Motion for Preliminary Injunction and directing Defendants to

provide Plaintiff with gender confirmation surgery within six months. Dkt. Nos. 154, 155, 149.

Defendants filed their Joint Opening Brief in the Ninth Circuit on March 6, 2019, arguing, inter

alia, that this Court’s Order must be reversed because it does not expressly include findings

pursuant to the Prison Litigation Reform Act (“PLRA”), 18 U.S.C. § 3626(a)(1)(A), “that such

relief is narrowly drawn, extends no further than necessary to correct the violation of the Federal

right, and is the least intrusive means necessary to correct the violation of the Federal right.” No.

19-35017, Dkt. No. 11-1 at 60-61.

         This Court’s Order satisfies the injunctive relief requirements of the PLRA. However, in

an abundance of caution, Plaintiff seeks an indicative ruling from this Court under Federal Rule

of Civil Procedure 62.1 that the Court would grant a motion to modify its Order pursuant to

Federal Rule of Civil Procedure 60(a) to expressly find that the ordered relief is narrowly drawn,

extends no further than necessary, is the least intrusive means of correcting the violation of

Plaintiff’s Eighth Amendment right to adequate medical treatment, and there is no evidence that

granting the relief will have any adverse impact on public safety or the operation of the criminal

justice system.

         Because the appeal has been docketed and is pending, this Court currently lacks the

authority to modify its Order. See Griggs v. Provident Consumer Discount Co., 459 U.S. 56, 58

(1982) (per curiam). However, Federal Rule of Civil Procedure 62.1 provides that “[i]f a timely

motion is made for relief that the court lacks authority to grant because of an appeal that has been

docketed and is pending, the court may. . . state . . . that it would grant the motion if the court of

appeals remands for that purpose.” 1 An indicative ruling from this Court under Rule 62.1 that it

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  Similarly, Federal Rule of Appellate Procedure 12.1 provides that “[i]f a timely motion is made
in the district court for relief that it lacks authority to grant because of an appeal that has been
docketed and is pending,” the court of appeals may make a limited remand to the district court


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would grant a Rule 60(a) motion to modify its Order to expressly include the PLRA findings

would provide a basis for the court of appeals to make a limited remand for this Court to modify

its Order while retaining jurisdiction over the appeal.

I.     The Court Should Consider This Motion on an Expedited Basis Pursuant to Local

       Rule 6.1

      There is good cause for the Court to consider this motion on an expedited basis pursuant

to Local Civil Rule 6.1 because, as this Court has already found, time is of the essence in this

matter. Based on this Court’s findings of urgency, the Ninth Circuit expedited its consideration

of Defendants’ appeal when it granted Defendants’ motion for a stay of this Court’s Order. See

No. 19-3501, Dkt. No. 19 (invoking 9th Cir. Gen. Ord. 3.3(g) regarding “Urgent Cases” that

involve “extraordinary circumstances” warranting “that a case be heard within a specified time

period and ordered onto a specific calendar, even though the panels sitting for that calendar have

already been assigned their cases.”). Plaintiff’s answering brief is due on April 3, 2019,

Defendants’ optional reply is due April 17, 2019, and the Ninth Circuit will hear oral argument

on May 16, 2019. Id; No. 19-3501, Dkt. Notice--Oral Argument Schedule. Expedited action

from this Court would “promot[e] judicial efficiency” by allowing this Court to correct an

inadvertent omission in its Order without delaying resolution of the appeal. See Mendia v.

Garcia, 874 F.3d 1118, 1122 (9th Cir. 2017).

II.    This Court May Modify Its Order Under Fed. R. Civ. P. 60(a) to Include Express

       Language Reflecting the Contemporaneous Intent of the Court Finding That the

       Injunctive Relief Ordered Satisfies the PLRA Requirements

       This Court’s substantive findings in its December 13, 2018 Order make clear that the

preliminary injunctive relief ordered meets the PLRA requirement that a court “shall not grant or

approve any prospective relief [with respect to prison conditions] unless the court finds that such

relief is narrowly drawn, extends no further than necessary to correct the violation of the Federal


while retaining jurisdiction over the appeal where the district court has made an indicative ruling
that it would grant the motion for relief.

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right, and is the least intrusive means necessary to correct the violation of the Federal right.” 18

U.S.C. § 3626(a)(1)(A). Plaintiff therefore requests that the Court use its authority under Federal

Rule of Civil Procedure 60(a) to modify its Order to include an express finding to this effect.

See Fed. R. Civ. P. 60(a) (“The court may correct a clerical mistake or a mistake arising from

oversight or omission whenever one is found in a judgment, order, or other part of the record.”);

Garamendi v. Henin, 683 F.3d 1069, 1079, 1081 (9th Cir. 2012) (observing that Rule 60(a)

permits “explanations and clarifications of the district court’s original intent” and correction of

“a failure to memorialize part of its decision” (internal quotation marks omitted)).

       This Court’s Order already contains the Court’s reasoning that it fully satisfies the PLRA.

The Court included the PLRA standard in the Order, and specifically ruled that the relief ordered

is limited to Ms. Edmo, and the particular circumstances of her case. The Court made extensive

findings reflecting its determination that gender confirmation surgery is necessary to correct the

violation of Ms. Edmo’s Eighth Amendment right to adequate medical treatment, and limited its

order to the care necessary to obtain gender confirmation surgery as the least intrusive means to

correct this violation. The Court also found that the injunction is in the public interest, and

Defendants presented no evidence that the relief ordered would harm their operation of the

criminal justice system. See Norsworthy v. Beard, 87 F. Supp. 3d 1164, 1194 (N.D. Cal. 2015);

Fields v. Smith, 712 F. Supp. 2d 830, 869 (E.D. Wis. 2010), supplemented (July 9, 2010), aff’d,

653 F.3d 550 (7th Cir. 2011).

       Although the Court’s December 13, 2018 Order meets the PLRA requirements and is

well-supported by the record, Plaintiff asks the Court to make an indicative ruling under Rule

62.1 that it would grant a Rule 60(a) motion to modify its Order to specifically state that the

relief afforded is narrowly drawn, extends no further than necessary to correct the violation of

the federal right, is the least intrusive means necessary to correct the violation of the Federal

right, and that there is no evidence that granting this relief will have any adverse impact on

public safety or the operation of the criminal justice system. Such modification is appropriate

under Rule 60(a) because it would not alter the substantive terms of the Order; instead, it would

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include additional language that “reflect[s] the contemporaneous intent of the district court as

evidenced by the record.” Garamendi, 683 F.3d at 1080 (internal quotation marks and citation

omitted).



Dated: March 28, 2019                         Respectfully Submitted,
                                              NATIONAL CENTER FOR LESBIAN RIGHTS
                                              FERGUSON DURHAM
                                              HADSELL STORMER & RENICK LLP


                                              By:    /s/ - Lori Rifkin
                                                     Lori Rifkin
                                                     Shaleen Shanbhag
                                              Attorneys for Plaintiff




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                                CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on the 28th day of March, 2019, I filed the foregoing

electronically through the CM/ECF system, which caused the following parties or counsel to be

served by electronic means, as more fully reflected on the Notice of Electronic Filing:


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